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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



ALEJANDRO FIGUEREDO,

             Plaintiff,

v.                                                 CASE NO. 4:04cv323-RH/WCS

JAMES V. CROSBY, et al.,

             Defendants.

__________________________________/


                 ORDER DISMISSING COMPLAINT IN PART

      This matter is before the court on the Magistrate Judge’s Report and

Recommendation (document 27), to which no objections have been filed. Upon

consideration,

      IT IS ORDERED:

      The Report and Recommendation is ACCEPTED and adopted as the opinion

of the court. Defendant James V. Crosby's motion to dismiss (document 18) is

GRANTED. All claims against Mr. Crosby in his official capacity are dismissed

for lack of jurisdiction based on the Eleventh Amendment. All claims against Mr.

Crosby in his individual capacity are dismissed for failure to state a claim upon

which relief may be granted. This matter is remanded to the Magistrate Judge for
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further proceedings.

         SO ORDERED this 10th day of May, 2005.

                                          s/Robert L. Hinkle
                                          Chief United States District Judge




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